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        Exhibit C
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                                                    ODI RESUME
                             Investigation:   PE 21-013
                             Date Opened:     05/17/2021                     Date Closed: 12/23/2021
                             Investigator:    Sean Hays                      Reviewer:    Tanya Topka
                             Approver:        Stephen Ridella
                             Subject:         Loss of Motive Power


                                 MANUFACTURER & PRODUCT INFORMATION
  Manufacturer:              Porsche Cars North America, Inc.
  Products:                  2020-2021 Porsche Taycan
  Population:                12,146 (Estimated)
  Problem Description:       Loss of motive power while in motion at any speed.

                                              FAILURE REPORT SUMMARY
                                                           ODI                 Manufacturer                  Total
  Complaints:                                               53                       48                      88**
  Crashes/Fires:                                             0                        0                        0
  Injury Incidents:                                          0                        0                        0
  Fatality Incidents:                                        0                        0                        0
  Other*:                                                   17                  Confidential             Confidential
  *Description of Other: Field Reports
  ** Total eliminates duplicates received by ODI and manufacturer.

                                        ACTION / SUMMARY INFORMATION
  Action:      Close Preliminary Evaluation PE21-013. See NHTSA Recall 21V-486.
  Summary:
  In May 2021, the Office of Defects Investigation (ODI) opened a Preliminary Evaluation (PE) of complaints received
  alleging a loss of motive power while in motion at any speed with no prior warning to the driver in the 2020-2021
  model year (MY) Porsche Taycan electric vehicles. ODI had received 9 Vehicle Owner Questionnaires (VOQs) and
  several field reports. All complaints alleged that a loss of motive power occurred without warning and error messages
  about a battery fault displayed during or after the vehicle stalled.

  In the subject vehicles, a pulse-controlled inverter is mounted on each of the two drive modules on the front and rear
  axles. The software designed to continuously monitor end-to-end communication between the safety-related electronic
  control units (ECUs) in the vehicle can, in certain instances, incorrectly and sporadically detect a potentially faulty
  communication, set an error memory entry, and trigger a shutdown of the power train, resulting in loss of motive
  power. If this occurs, the affected vehicles display the warning message"Motor control error. Stop vehicle in a safe
  place" in the instrument cluster.

  Porsche has corrected the software malfunction in production. Further, Porsche is conducting a safety recall
  (21V-486) to upgrade the software on vehicles already in the field. In view of the recall action, this Preliminary
  Evaluation is closed. The agency reserves the right to take additional action if warranted by new circumstances.

  The ODI reports cited above can be reviewed online at nhtsa.gov under the following identification numbers:
  11435775, 11433960, 11431568, 11429897, 11427688, 11426921, 11426902, 11424618, 11424613, 11424296,
  11424175, 11424015, 11423458, 11423311, 11422549, 11422463, 11421593, 11421575, 11421494, 11421347,
  11420845, 11420788, 11420734, 11420572, 11419756, 11419735, 11419730, 11419721, 11419422, 11418975,


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   11418935, 11418793, 11418705, 11418692, 11418593, 11418476, 11418405, 11418381, 11418245, 11418237,
   11418153, 11418142, 11418132, 11418106, 11415110, 11414731, 11414486, 11404336, 11386164, 11383427,
   11377898, 11377875, 11364083




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